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                   United States District Court for the Northern
                                  District of Ohio


United States of America,


                                      Plaintiff,


        vs.                                                       CASE NO. 1:18CR131
                                                                  Judge John R. Adams
David M. Richards,


                                      Defendant.

                              NOTICE OF APPEAL

        Notice is hereby given that David M. Richards                                   ,
                                            (here name all parties taking the appeal)
hereby appeal to the United States Court of Appeals for the Sixth Circuit from

the final judgment (R. 35)
               (the final judgment) (from an order (describing it))


entered in this action on the 10th    day of December        , 2018 .


                                      (s) / Jeffrey B. Lazarus (0079525)
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